
*1203Opinion for the court filed by Circuit Judge SCHALL, in which Circuit Judges LOURIE, RADER, BRYSON, GAJARSA, LINN, DYK, PROST, and MOORE join. Concurring opinion filed by Circuit Judge DYK, in which Circuit Judges GAJARSA and MOORE join. Dissenting opinion filed by Circuit Judge MAYER, in which Chief Judge MICHEL and Circuit Judge NEWMAN join.
SCHALL, Circuit Judge.
This is a veterans case. It involves 38 U.S.C. § 7266(a). Pursuant to that statute, a veteran may appeal a final decision of the Board of Veterans’ Appeals (“Board”) to the United States Court of Appeals for Veterans Claims (“Veterans Court”) within 120 days after the date on which notice of the Board’s decision is mailed. In this case, veteran David L. Henderson appeals the decision of the Veterans Court which dismissed his appeal of an adverse Board decision for lack of jurisdiction, on the ground that the appeal was untimely. Henderson v. Peake, 22 Vet.App. 217 (2008). In arriving at its decision, the court held that the 120-day appeal period set forth in § 7266(a) is not subject to equitable tolling. It was the view of the Veterans Court that the decision of the Supreme Court in Bowles v. Russell, 551 U.S. 205, 127 S.Ct. 2360, 168 L.Ed.2d 96 (2007), had abrogated the decision of this court in Bailey v. West, 160 F.3d 1360 (Fed.Cir.1998) (en banc). In Bailey, we held that § 7266(a) is subject to equitable tolling. Following argument before a panel, we decided to rehear Mr. Henderson’s appeal en banc, in order to determine whether, in light of Bowles, we should overrule Bailey and Jaquay v. Principi, 304 F.3d 1276 (Fed.Cir.2002) (en banc). In Jaquay, we followed Bailey and held that the misfiling of a motion for reconsideration before the Board equitably tolls the period for filing a notice of appeal with the Veterans Court. Today, for the reasons set forth below, based on Bowles, we expressly overrule Bailey and Jaquay’s holdings that the time period set forth in § 7266(a) is subject to equitable tolling. We therefore affirm the decision of the Veterans Court dismissing Mr. Henderson’s appeal for lack of jurisdiction.
BACKGROUND
Mr. Henderson served on active military duty from 1950 to 1952. He was discharged in 1952 after being diagnosed with paranoid schizophrenia, for which he has established service connection and currently has a 100% disability rating. In August of 2001, Mr. Henderson filed a claim for monthly compensation with the Department of Veterans Affairs (“VA”) Regional Office (“RO”), based on his need for in-home care. The RO denied the claim, and Mr. Henderson appealed to the Board. The appeal was denied on August 30, 2004. Thereafter, on January 12, 2005, Mr. Henderson filed a notice of appeal with the Veterans Court, fifteen days after the expiration of the 120-day appeal period set forth in 38 U.S.C. § 7266(a). Section 7266(a) provides as follows:
In order to obtain review by the Court of Appeals for Veterans Claims of a final decision of the Board of Veterans’ Appeals, a person adversely affected by such decision shall file a notice of appeal with the Court within 120 days after the date on which notice of the decision is mailed pursuant to section 7104(e) of this title.1
*1204In 2005, the Veterans Court entered two orders asking Mr. Henderson to explain why his appeal should not be dismissed as untimely. Mr. Henderson responded that his failure to timely appeal was a direct result of his illness, and he asked that the court allow for equitable tolling in light of Bailey.
In March of 2006, in a single-judge decision, the Veterans Court held that equitable tolling was inappropriate in Mr. Henderson’s case, and dismissed his appeal as untimely. Subsequently, however, the court appointed pro bono representation to Mr. Henderson and revoked its initial order, reassigning the appeal to a panel. While Mr. Henderson’s appeal was pending, the Supreme Court rendered its decision in Bowles, in which it stated that “the timely filing of a notice of appeal in a civil case is a jurisdictional requirement,” and thus cannot be waived. 551 U.S. at 214, 127 S.Ct. 2360. The Court also stated that it had “no authority to create equitable exceptions to jurisdictional requirements.” Id. The Veterans Court requested additional briefing on whether Bowles had abrogated our en banc decision in Bailey.
On July 24, 2008, the Veterans Court ruled in a 2-1 decision that the holding in Bowles prohibited it from using equitable tolling to extend the 120-day appeal period set forth in § 7266(a). Henderson, 22 Vet.App. at 221. The court determined that Congress had “specifically authorized” it to conduct “independent judicial appellate review ” of the Board, and that well-settled law established that its cases were “civil actions.” Id. at 220. Starting from that premise, the court concluded that § 7266(a) was a notice of appeal provision in a civil case, and that it was jurisdictional and could not be equitably tolled. Id. at 220-21. Accordingly, the court ruled that our precedent in Bailey was effectively overruled, and it dismissed Mr. Henderson’s appeal for lack of jurisdiction. See id. at 218-20 (discussing Bailey). Judge Schoelen dissented, stating that the majority had failed to explain how Bowles changed the analysis of the governmental waiver of sovereign immunity that the Federal Circuit undertook in Bailey and reaffirmed in Jaguay. Id. at 222 (Schoe-len J., dissenting).
Mr. Henderson timely appealed to this court, and a panel heard oral argument on June 5, 2009. Recognizing that the case raised the question of whether Bowles requires or suggests that we overrule previous en banc holdings of our court, we granted rehearing en banc sua sponte on June 29, 2009. Henderson v. Shinseki, 327 Fed.Appx. 901 (Fed.Cir.2009). The single question posed to the en banc court is this:
Does the Supreme Court’s decision in Bowles v. Russell, 551 U.S. 205, 127 S.Ct. 2360, 168 L.Ed.2d 96 (2007), require or suggest that this court should overrule its decisions in Bailey v. West, 160 F.3d 1360 (Fed.Cir.1998) (en banc), and Jaquay v. Principi, 304 F.3d 1276 (Fed.Cir.2002) (en banc), holding that 38 U.S.C. § 7266 is subject to equitable tolling?
DISCUSSION
I.
Under 38 U.S.C. § 7292(c), we have jurisdiction “to review and decide any challenge to the validity of any statute or regulation or any interpretation thereof ... and to interpret constitutional and statutory provisions, to the extent presented and necessary to a decision.” Pursuant to 38 U.S.C. § 7292(d)(1), we “decide all relevant questions of law, including interpreting constitutional and statutory provisions.” However, absent a constitutional *1205issue, we “may not review (A) a challenge to a factual determination, or (B) a challenge to a law or regulation as applied to the facts of a particular case.” 38 U.S.C. § 7292(d)(2). As we stated in Bailey, “[bjecause our review of this decision involves a question of statutory interpretation — namely the ability of the [Veterans Court] to equitably toll a particular statutory time limit and thereby exercise jurisdiction over a late-filed notice of appeal— we have jurisdiction over this matter.” 160 F.3d at 1362. The question of whether § 7266(a) is subject to equitable tolling is a question of law and is reviewed de novo. See id,.; see also 38 U.S.C. § 7292(d)(2).
II.
A.
Before turning to the contentions of the parties and our analysis, we examine Bailey, Jaquay, and Bowles. In Bailey, veteran Harold Bailey sought service connection for a pulmonary disorder. After his claim was denied by the RO, Bailey appealed to the Board, which also denied his claim. Bailey, 160 F.3d at 1361. The Board mailed copies of its decision to Bailey and his representative on August 8, 1996. The Board’s decision informed Bailey that, under 38 U.S.C. § 7266(a), he had 120 days to appeal to the Veterans Court by filing a notice of appeal with the court at its address in Washington, D.C. Id.
Bailey filed his Notice of Appeal with the Veterans Court on January 25, 1997, after the expiration of the 120-day period specified in § 7266(a). Id. at 1361-62. Eventually, the Veterans Court dismissed the appeal for lack of jurisdiction, stating that equitable tolling was not available “to provide any relief in the case of an untimely filed [Notice of Appeal].” Id. at 1362. After Bailey appealed, we took the case en banc to determine whether the 120-day time period set forth in § 7266(a) is subject to equitable tolling.
The en banc court held that the time period in § 7266(a) is subject to equitable tolling. In so doing, the court “t[ook its] guidance” from Irwin v. Department of Veterans Affairs, 498 U.S. 89, 111 S.Ct. 453, 112 L.Ed.2d 435 (1990). Bailey, 160 F.3d at 1363. In that case, Shirley Irwin was fired from his job with the VA. Subsequently, he sought to bring a Title VII claim in district court after exhausting his remedies within the agency and before the Equal Employment Opportunity Commission (“EEOC”). 498 U.S. at 90-91, 111 S.Ct. 453. Section 2000e-16(c) of Title 42 provided at the time, as a statute of limitations, that a Title VII complaint had to be filed “within thirty days of receipt of notice of final action” by the EEOC.2 Id. at 94, 111 S.Ct. 453. Although Irwin did not file his complaint in a timely fashion, he argued that equitable tolling should apply and excuse his delay. Id. at 91, 111 S.Ct. 453.
After the district court dismissed Irwin’s complaint and the Fifth Circuit affirmed the dismissal, the Supreme Court granted certiorari. Deciding the case, the Court held that “the same rebuttable presumption of equitable tolling applicable to suits against private defendants should also apply to suits against the United States.” Id. at 95, 111 S.Ct. 453. The Court further held that equitable tolling should apply to 42 U.S.C. § 2000e-16(c), stating that the use of equitable tolling against the government did not improperly broaden Congress’s statutory waiver of sovereign immunity.3 Id. at 95-96, 111 S.Ct. 453.
*1206In Bailey, we viewed § 7266(a) as a time of review provision, see 160 F.3d at 1365-66, but we declined to cabin Irwvri to cases involving statutes of limitations. Id. We stated that the Supreme Court’s opinion in Irwin did not “distinguish among the various kinds of time limitations that may act as conditions to the waivers of sovereign immunity required to permit a cause of action to be pitched against the United States.” Id. at 1364. We further stated that the rule we drew from Irwin was that “the doctrine of equitable tolling, when available in comparable suits of private parties, is available in suits against the United States, unless Congress has expressed its intent to the contrary.” Id. We concluded that there was “no reason to believe” that Congress wanted to bar the application of equitable tolling to § 7266(a). Id. at 1368.
The Bailey Court distinguished Stone v. Immigration &amp; Naturalization Service, 514 U.S. 386, 115 S.Ct. 1537, 131 L.Ed.2d 465 (1995), and Missouri v. Jenkins, 495 U.S. 33, 110 S.Ct. 1651, 109 L.Ed.2d 31 (1990). In Stone, which involved a final deportation order of the Board of Immigration Appeals (“BIA”), the Supreme Court held that the time for filing a petition for review of the order with a circuit court of appeals was jurisdictional and thus could not be equitably tolled.4 Although the Stone Court stated that “statutory provisions specifying the time of review” are “mandatory and jurisdictional,” 514 U.S. at 405, 115 S.Ct. 1537, we said in Bailey that we did not think this language could “be read to mean that statutes specifying the time of review cannot be subject to equitable tolling because such statutes are mandatory and jurisdictional.” Bailey, 160 F.3d at 1366. Rather, we said that we thought it reasonable to read this language to mean that “statutory provisions specifying the time for review are not subject to equitable tolling, after Irwin, if Congress has so expressed its intent.” Id.
In Missouri v. Jenkins, the Supreme Court held that the ninety-day time limit for filing a petition for certiorari in a civil action, set forth in 28 U.S.C. § 2101(c), is not subject to equitable tolling.5 495 U.S. at 95, 110 S.Ct. 1684. We stated in Bailey that we read Missouri v. Jenkins in light of Irwin to mean that time of review statutes cannot be equitably tolled where Congress has provided contrary intent. Bailey, 160 F.3d at 1367. We found that such intent was present in the case of § 2101(c) because Congress had added a sixty-day good cause exception to the ninety-day time limit in the statute. Id. Because Congress specifically included a good cause exception, we stated that Congress “expressed an intent to shield the statute from equitable tolling,” and thus Missouri v. Jenkins and Irwin could be harmonized. Id. We concluded our discussion of Stone and Missouri v. Jenkins by stating: “We recognize that language in Stone and Missouri v. Jenkins can be read to draw a *1207bright line which would place statutes of limitation on one side of the Irwin presumption and statutes of timing of review on the other. We are not comfortable drawing that line....” Id.
After analyzing § 7266(a), we concluded that the government had not rebutted the Irwin presumption, and that § 7266(a)’s time period was therefore subject to equitable tolling. In reaching this conclusion, we noted that Congress did not express contrary intent that would indicate equitable tolling should not apply. For example, in United States v. Brockamp, 519 U.S. 347, 350, 117 S.Ct. 849, 136 L.Ed.2d 818 (1997), we observed, the Supreme Court held that the statute of limitations in 26 U.S.C. § 6511 is not subject to equitable tolling because it is “set[ ] forth ... in a highly detailed technical manner, that linguistically speaking, cannot easily be read as containing implicit exceptions.”6 Further, § 6511 expressly states exceptions to its time limits, and “equitable tolling” is not one of the exceptions enumerated. Id. at 352, 117 S.Ct. 849. We observed in addition that, in United States v. Beggerly, 524 U.S. 38, 118 S.Ct. 1862, 141 L.Ed.2d 32 (1998), the Supreme Court found that Congress had rebutted the presumption of equitable tolling for 28 U.S.C. § 2409a because the statute provides for an “unusually generous” statute of limitations that “d[oes] not begin to run until the plaintiff ‘knew or should have known of the claim of the United States.’”7 524 U.S. at 48-49, 118 S.Ct. 1862. We determined that, unlike the statutes in Brockamp and Beggerly, § 7266(a) is neither highly technical nor generous, and does not provide for explicit exceptions to the limitations period it contains. Thus, we concluded that the appeal period in § 7266(a) is subject to equitable tolling, overruling prior precedent to the contrary. Bailey, 160 F.3d at 1368. Accordingly, we reversed the decision of the Veterans Court and remanded the case for a determination as to whether Bailey was entitled to the benefit of equitable tolling.
In concurrence, now-Chief Judge Michel wrote separately “because certain statements of our court about certain comments in Irwin could be read to suggest a broader application of Irwin to other tribunals .... ” Bailey, 160 F.3d at 1368 (Michel, J., concurring). The concurrence focused on the “unique, paternalistic administrative environment” of the Veterans Court, and noted that “disputes that arise in this system are subject to procedural and other rules that are distinctly advantageous to the veteran claimant.” Id. at 1368-69. Because Judge Michel could find no possibility for “comparable suits of private parties” in the veterans context, he reasoned that the holding in Irwin was inapplicable. Id. at 1370. The concurrence nonetheless concluded that equitable tolling of § 7266(a)’s 120-day period was appropriate because the “entire scheme is imbued with special beneficence from a grateful sovereign.” Id. at 1370.
Dissenting, Judge Bryson pointed out that the Federal Circuit had “previously characterized compliance with the 120-day appeal period in 38 U.S.C. § 7266(a) as ‘a prerequisite for jurisdiction in the [Veterans Court],’ ” and that consequently the court had held that the 120-day period was not subject to extension upon a showing of good cause. Id. According to the dissent, the question of whether § 7266(a) is subject to equitable tolling was controlled not by Irwin, but by Stone. Id. at *12081372. The dissent drew the bright line the majority rejected, finding that while statutes of limitations are subject to the Irwin presumption of equitable tolling, “[pjeriods for filing notices of appeal are not normally regarded as statutes of limitations.” Id. at 1371. “Instead, they are considered ‘timing of review’ provisions, which are typically deemed ‘mandatory and jurisdictional’ and not subject to equitable tolling.” Id. at 1371-72. The statute in Irwin, the dissent stated, was a statute of limitations because it commenced a civil suit in district court, and was not an appeal from any court or other body. Id. at 1372.
By contrast, the dissent stated, the statute in Stone specified the time for review of a decision of the BIA by a federal court of appeals. The dissent highlighted the following language from the Court’s opinion in Stone, id.:
Judicial review provisions ... are jurisdictional in nature and must be construed with strict fidelity to their terms.... This is all the more true of statutory review provisions specifying the timing of review, for those time limits are, as we have often stated, “mandatory and jurisdictional,” ... and are not subject to equitable tolling.
Stone, 514 U.S. at 405, 115 S.Ct. 1537. The dissent concluded that the appeal provision in Stone, 8 U.S.C. § 1105a(a)(1), paralleled § 7266(a), “in that both provide a fixed period of time within which an appeal may be taken to a reviewing court.” Bailey, 160 F.3d at 1372. By contrast, the limitations period at issue in Irwin is not a provision for appellate review “because the action brought in district court is not a review of anything done by the EEOC, but an original discrimination action against the employer agency.” Finally, the dissent reviewed the pertinent legislative history and determined that although it was “not conclusive,” it too supported the con-elusion that § 7266(a) is jurisdictional in nature and not subject to equitable tolling.
B.
In Jaquay, the en banc court addressed the question of whether a misfiled motion asking for Board reconsideration “equitably tolled the judicial appeal period for filing [a] notice of appeal to the Veterans Court.” 304 F.3d at 1278. Veteran Oliver Jaquay attempted to file a motion for reconsideration of a final Board decision, but incorrectly filed it with his RO. After ten months had elapsed, the RO forwarded the motion to the Board, where it was denied. When Jaquay appealed the reconsideration decision to the Veterans Court (within 120 days of the denial), the Veterans Court granted the government’s motion to dismiss because the notice of appeal was not filed within 120 days of the initial final Board decision. Further, the Veterans Court found tolling inappropriate under Rosler v. Derwinski, 1 Vet.App. 241, 249 (1991), where it had held that a motion for reconsideration filed with the Board within 120 days of the Board’s final decision tolls the time required to file a notice of appeal with the Veterans Court until 120 days after the reconsideration decision. Id. We reversed, holding that Jaquay’s misfiling equitably tolled the 120-day period for filing at the Veterans Court.
We noted that, in Irwin, the Supreme Court stated that equitable tolling is available (1) “where the claimant has actively pursued his judicial remedies by filing a defective pleading during the statutory period,” or (2) “where the complainant has been induced or tricked by his adversary’s misconduct into allowing the filing deadline to pass.” Irwin, 498 U.S. at 96, 111 S.Ct. 453. We also noted that the Supreme Court had previously found equitable tolling appropriate where a plaintiff had “filed the correct complaint in the wrong court.” *1209Jaquay, 804 F.3d at 1285. We stated that, “[i]n the context of the non-adversarial, paternalistic, uniquely pro-claimant veterans’ compensation system, and consistent with our decision in Bailey, the availability of equitable tolling pursuant to Irwin should be interpreted liberally with respect to filings during the non-adversarial stage of the veterans’ benefits process.” Id. at 1286. We thus held as a matter of law that “a veteran who seeks redress of a claim and misfiles his request at the same [RO] from which the claim originated” is entitled to equitable tolling under the first Irwin prong “despite the defective filing” because he has “actively pursued his judicial remedies.” Id. at 1288-89.
C.
The Supreme Court decided Bowles in 2007, after Bailey and Jaquay were decided by this court. In Bowles, the Court sought to clarify the .circumstances in which time limits have jurisdictional significance. In the case, Keith Bowles petitioned for habeas corpus relief from a murder conviction, after unsuccessfully challenging on direct appeal in state court both his conviction and sentence of fifteen years to life. 551 U.S. at 207, 127 S.Ct. 2360. The district court in Ohio denied the petition, and Bowles failed to timely appeal. Id. Pursuant to 28 U.S.C. § 2107(c) and Federal Rule of Appellate Procedure 4(a)(6) (“Rule 4(a)(6)”), though, the district court exercised its right to extend the period for filing a notice of appeal.8 Id. However, the court’s order erroneously gave Bowles seventeen days to file the notice of appeal, instead of the fourteen days allowed by the statute and the rule. Bowles filed his notice of appeal on the sixteenth day. Id. Before the United States Court of Appeals for the Sixth Circuit, Russell, the Warden who had custody of Bowles, argued that Bowles’s notice of appeal was untimely and that the court therefore lacked jurisdiction to hear the case. The Sixth Circuit agreed and dismissed the appeal. Bowles v. Russell, 432 F.3d 668, 677 (6th Cir.2005). Noting that Rule 4(a) had been interpreted as “both mandatory and jurisdictional” by the Supreme Court and the Sixth Circuit, id. at 673, the court held that the Rule was “not susceptible to extension through mistake, courtesy, or grace.” Id. at 669.
The Supreme Court affirmed the decision of the Sixth Circuit. Focusing on 28 *1210U.S.C. § 2107(c), the Court held that the statute was more than a “claim processing rule,” Bowles, 551 U.S. at 213, 127 S.Ct. 2360, and stated repeatedly that time limits for filing a notice of appeal are jurisdictional in nature. Id. at 206, 210-212, 127 S.Ct. 2360. The Court stressed the fact that it had “long held that the taking of an appeal within the prescribed time is ‘mandatory and jurisdictional.’ ” Id. at 209, 127 S.Ct. 2360. In addition, the Court emphasized that there is particular “jurisdictional significance” when the time limit is set forth statutorily, rather than through court-promulgated rules. Id. at 210-11, 127 S.Ct. 2360. In that regard, the Court contrasted its treatment of Federal Rule of Bankruptcy Procedure 4004 (“Rule 4004”), which governs the filing deadline for a complaint objecting to a debtor’s discharge, with 28 U.S.C. § 2101(c), which governs the filing deadline for a writ of certiorari in civil cases. In discussing Rule 4004, the Court recounted its decision in Kontrick v. Ryan, 540 U.S. 443, 124 S.Ct. 906, 157 L.Ed.2d 867 (2004). In Kontrick, the Court held that Rule 4004 was not jurisdictional. According to the Bowles Court, “[cjritical to [the] analysis [in Kontrick ] was the fact that ‘no statute ... specifies a time limit for filing a complaint objecting to the debtor’s discharge.’ ” 551 U.S. at 211, 127 S.Ct. 2360 (quoting Kontrick, 540 U.S. at 448, 124 S.Ct. 906). As only Congress can determine the jurisdiction of a lower federal court, the Court found it inappropriate to label rules such as Rule 4004 “jurisdictional.” By contrast, referring to 28 U.S.C. § 2101(c), the Court stated: “We have repeatedly held that this statute-based filing period for civil cases is jurisdictional.” Bowles, 551 U.S. at 212, 127 S.Ct. 2360.
Continuing, the Court opined that “[j]u-risdictional treatment of statutory time limits makes good sense.” Id. at 212, 127 S.Ct. 2360. “Within constitutional bounds, Congress decides what cases the federal courts have jurisdiction to consider. Because Congress decides whether federal courts can hear cases at all, it can also determine when, and under what conditions, federal courts can hear them.” Id. at 212-13, 127 S.Ct. 2360. Because Congress specifically provided a limit on the number of days a court may extend the period in which to file a notice of appeal in 28 U.S.C. § 2107(c), the Court found that limit to be “more than a simple ‘claim-processing rule,’ ” and thus jurisdictional. Id. at 213, 127 S.Ct. 2360. The Court stated: “Bowles’ failure to file his notice of appeal in accordance with the statute therefore deprived the Court of Appeals of jurisdiction. And because Bowles’ error is one of jurisdictional magnitude, he cannot rely on forfeiture or waiver to excuse his lack of compliance with the statute’s time limitations.” Id. In conclusion, the Court emphasized: “Today we make clear that the timely filing of a notice of appeal in a civil case is a jurisdictional requirement.” Id. at 214, 127 S.Ct. 2360. The Court added that it had “no authority to create equitable exceptions to jurisdictional requirements.” Id. The Court thus affirmed the dismissal of Bowles’s habeas appeal. Id. at 214-15, 127 S.Ct. 2360.
III.
On appeal, Mr. Henderson, supported by various amici, makes several arguments as to why Bowles does not require us to overrule Bailey and Jaquay,9 He first *1211contends that 38 U.S.C. § 7266(a) is analogous to a statute of limitations rather than a jurisdictional time of review provision. Starting from that premise, he argues that the question of whether the 120-day filing period in § 7266(a) is subject to equitable tolling is governed by Irwin. Mr. Henderson urges that, in any event, the Bowles analysis should be limited to appeals in Article III courts, and should not be extended to cover appeals to the Article I Veterans Court. Finally, Mr. Henderson points to the unique pro-claimant, non-adversarial nature of proceedings before the RO and the Board. According to Mr. Henderson, the unique nature of veterans proceedings supports a reading of § 7266(a) that allows for equitable tolling.
In arguing that § 7266(a) is analogous to a statute of limitations, rather than a time of review provision, and that Irwin therefore controls, Mr. Henderson points to Ja-quay. There, we stated that “the filing of a notice of appeal at the Veterans Court, like the filing of a complaint in a trial court, is the first action taken by a veteran in a court of law.” 304 F.3d at 1286. He also points to the statement in Jaquay that Bailey decided “whether the 120-day statute of limitations under 38 U.S.C. § 7266 was subject to the doctrine of equitable tolling.” Appellant’s Br. 19 (quoting Jaquay, 304 F.3d at 1283). According to Mr. Henderson, “[t]he rationale for these statements is simple: when a veteran files [a Notice of Appeal] in the Veterans Court, the veteran is commencing litigation against the United States, not pursuing an appeal from one Article III court to another.” Id.
Mr. Henderson argues that the title of § 7266(a), “Notice of Appeal,” does not change the fact that the statute constitutes a statute of limitations. Mr. Henderson reasons that although a case has been through several non-adversarial administrative proceedings when it reaches the Veterans Court, it has not yet been heard in a court of law. By contrast, an appeal from a district court to a circuit court of appeals already has been heard in one Article III court. See Bowles, 551 U.S. at 208-09, 127 S.Ct. 2360 (discussing the time limit for seeking review of an Article Ill court’s decision in another Article III court). In other words, Mr. Henderson contends that § 7266(a) must be a statute of limitations because he “has not had a chance to engage the judicial machinery” before the time of his appeal to the Veterans Court. See En Banc Oral Arg., 14:19-14:22, Sept. 18, 2009.
According to Mr. Henderson, because § 7266(a) is analogous to a statute of limitations provision, the Irwin presumption in favor of equitable tolling applies. In that regard, he argues that, as we determined in Bailey, there is no evidence of congressional intent to foreclose the application of equitable tolling to § 7266(a). Mr. Henderson posits that where Congress has written in exceptions to a time period set forth in a statute, as it did in 28 U.S.C. § 2107(c), then the specified time period cannot be equitably tolled. However, in the case of § 7266(a), no such exception was written in. Thus, Mr. Henderson contends that “equitable tolling is presumed to exist in the statute.” Id. at 6:04-08. Relatedly, Mr. Henderson urges that the intent to provide for equitable tolling has been solidified in the past eleven years. In the period since Bailey, Congress has amended § 7266(a), and chosen not to specify that equitable tolling is unavailable, indicating to Mr. Henderson that Congress has acquiesced in the interpretation we *1212gave the statute in Bailey.10 Appellant’s Reply Br. 9-10.
The government responds that 38 U.S.C. § 7266(a) constitutes a mandatory and jurisdictional time of review provision. It frames the issue by stating that “[a] statute governing the timing of an appeal is jurisdictional because it identifies the point at which the subject-matter jurisdiction of the lower court or tribunal ends and that of the appellate court begins.” Appellee’s Br. 11; see also Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58, 103 S.Ct. 400, 74 L.Ed.2d 225 (1982) (per curiam) (“The filing of a notice of appeal is an event of jurisdictional significance-it confers jurisdiction on the court of appeals and divests the district court of its control over those aspects of the case involved in the appeal.”).
The government argues that, in view of Bowles, there can be no doubt that § 7266(a) is jurisdictional. The government notes that, in Bowles, the Supreme Court stressed the fact that statutes specifying the time for taking an appeal in civil cases are jurisdictional. The government further notes that both this court and the Supreme Court have referred to proceedings in the Veterans Court as civil actions. See Scarborough v. Principi, 541 U.S. 401, 413, 124 S.Ct. 1856, 158 L.Ed.2d 674 (2004); Abbs v. Principi, 237 F.3d 1342, 1348 (Fed.Cir.2001). Additionally, the government points out, § 7266(a) refers to the filing in the Veterans Court as a “notice of appeal,” indicating that the Veterans Court does not commence litigation, but rather continues litigation first brought before the Board. The government also points out that the Veterans Court cannot review fact findings de novo, 38 U.S.C. § 7261(c), and must apply the doctrine of harmless error. See Shinseki v. Sanders, — U.S.-, 129 S.Ct. 1696, 1704, 173 L.Ed.2d 532 (2009) (holding that 38 U.S.C. § 7261(b)(2) requires the Veterans Court to apply the same kind of “harmless-error” rule that courts ordinarily apply in civil cases). In addition, the Veterans Court reviews each case that comes before it on a record that is limited to the record developed before the RO and the Board. 38 U.S.C. § 7252(a). The government argues that these requirements are characteristic of appellate courts, not courts or bodies where litigation is commenced, and that therefore it is inappropriate “to treat a veteran’s appeal ... like an ‘initial’ claim.” Appellee’s Br. 25. The government also argues that the legislative history does not support equitable tolling.
IV.
In Bowles, the Supreme Court “ma[d]e clear that the timely filing of a notice of appeal in a civil case is a jurisdictional requirement.” Bowles, 551 U.S. at 214, 127 S.Ct. 2360. The Court also made it clear that courts “ha[ve] no authority to create exceptions to jurisdictional requirements.” Id. at 214, 127 S.Ct. 2360. Only Congress may do that. Id. at 212-13, 127 S.Ct. 2360. (“Because Congress decides whether federal courts can hear cases at all, it can also determine when, and under what conditions, federal courts can hear them.”). We hold today that 38 U.S.C. § 7266(a) is a notice of appeal, or time of review, provision in a civil case. In line with Bowles, we further hold that because' § 7266(a) is a time of review provision, it is jurisdictional and that because Congress has not so provided, the statute is not subject to equitable tolling.
*1213A.
Preliminarily, we recognize that, as Mr. Henderson points out, we stated in Jaquay that “the filing of a notice of appeal at the Veterans Court, like the filing of a complaint in a trial court, is the first action taken by a veteran in a court of law.” 304 F.3d at 1286. As he further points out, we also stated in Jaquay that Bailey decided “whether the 120-day statute of limitations under 38 U.S.C. § 7266 was subject to equitable tolling.” Id. at 1283 (emphasis added). These statements do not alter our conclusion that § 7266(a) is a time of review provision.
We agree that Mr. Henderson’s appeal to the Veterans Court represented the first time he could appear before a court. However, that was also the case for the litigant in Stone. Although Stone appeared solely within the executive system (namely, the BIA) before his petition to the circuit court of appeals, the Supreme Court still held that 8 U.S.C. § 1105a(a)(1) was mandatory and jurisdictional. Therefore, the fact that the Veterans Court is the first opportunity for a veteran to appear before a judicial body does not make § 7266(a) a statute of limitations rather than a time of review provision. More importantly, the statutory scheme convinces us that § 7266(a) is indeed a time of review provision.
Turning to the nature of proceedings in the Veterans Court, we begin by noting that both the Supreme Court and this court have labeled actions in the Veterans Court “civil actions.” See Sanders, 129 S.Ct. at 1700 (“In these two civil cases, the Department of Veterans Affairs (VA) denied veterans’ claims for disability benefits.”); Scarborough v. Principi, 541 U.S. 401, 413, 124 S.Ct. 1856, 158 L.Ed.2d 674 (2004) (labeling veterans actions “civil actions” for purposes of fees allowed by the Equal Access to Justice Act); Abbs v. Principi, 237 F.3d 1342, 1348 (Fed.Cir.2001) (same). We hold that an appeal in the Veterans Court is a “civil case.” See Bowles, 551 U.S. at 214, 127 S.Ct. 2360.
We also hold that, because it speaks to “the timely filing of a notice of appeal,” id., § 7266(a) is a time of review provision. First, the statute is titled “Notice of Appeal,” and it states that a veteran “shall file a notice of appeal ” “in order to obtain review” by the Veterans Court. 38 U.S.C. § 7266(a). This language plainly suggests that § 7266(a) is a time of review provision. Beyond that, § 7252(a) of Title 38 states that the Veterans Court “review[s] decisions of the Board of Veterans’ Appeals,” while § 7252(b) provides that a decision of the Veterans Court “shall be on the record of proceedings before the Secretary and the Board.” Additionally, the Veterans Court reviews the fact findings of the Board under a clearly erroneous standard, 38 U.S.C. § 7261(b), and must consider the rule of prejudicial error, 38 U.S.C. § 7261(b)(2). These are characteristics of appellate review, rather than of an assessment of claims in the first instance. See, e.g., Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S. 439, 464, 108 S.Ct. 1319, 99 L.Ed.2d 534 (1988) (noting that it is among “the most basic principles of appellate review” that an appellate court not disturb findings of fact unless they are clearly in error) (citing Fed.R.Civ.P. 52(a) (“Findings of fact ... shall not be set aside unless clearly erroneous”)); Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 123, 89 S.Ct. 1562, 23 L.Ed.2d 129 (1969) (“appellate courts must constantly have in mind that their function is not to decide factual issues de novo.”). As the Veterans Court stated in Frankel v. Derwinski, 1 Vet.App. 23, 25 (1990), “the primary purpose for creating the [Veterans Court] was to provide judicial review of [Board] decisions.” The very fact that *1214the Veterans Court can only affirm, reverse, modify, and remand decisions of the Board indicates that it is an appellate body, not a court where claims are commenced. See 38 U.S.C. § 7252(a). In contrast, a Title VII claim (like the one brought in Irwin) is a new civil action. While the district court will certainly consider many of the same facts and the same underlying conduct as the agency and the EEOC, the district court is free to make de novo fact findings and reach its own conclusions, unconstrained by the agency or EEOC record or conclusions. See, e.g., Chandler v. Roudebush, 425 U.S. 840, 863, 96 S.Ct. 1949, 48 L.Ed.2d 416 (1976) (in a “civil action” under Title VII, the district court considers the discrimination claim de novo). For the foregoing reasons, we hold that 38 U.S.C. § 7266(a) is a time of review provision. We therefore must reject Mr. Henderson’s contention that § 7266(a) is analogous to a statute of limitations.
In holding that § 7266(a) is a time of review provision, we do not break new ground. Indeed, the Bailey court recognized the statute as such. The court referred to § 7266(a) as being “specific in stating where, how and when the notice of appeal must be filed.” 160 F.3d at 1365. In addition, in addressing Stone’s statement that “statutory review provisions specifying the time of review” are “mandatory and jurisdictional,” Stone, 514 U.S. at 405, 115 S.Ct. 1537, this court stated: “We do not think this language can be read to mean that statutes specifying the time for review cannot be subject to equitable tolling because such statutes are mandatory and jurisdictional.” Bailey, 160 F.3d at 1366. It would not have been necessary for the court to make this latter statement if it had not thought that § 7266(a) was a time of review provision.
B.
Holding that 38 U.S.C. § 7266(a) is a time of review provision in a civil case does not end the inquiry, however. As the dissent in Bailey stated, the “general principle in Stone regarding timing-of-review provisions would be inapplicable if there were anything in § 7266(a)(1) or its legislative history indicating that the timing provision governing appeals to the [Veterans Court] was meant to be subject to equitable tolling.” Bailey, 160 F.3d at 1372.
Beginning with § 7266(a) itself, we see nothing on its face to indicate that it is meant to be subject to equitable tolling. The statutory language is clear and unequivocal, with no suggestion of equitable tolling:
In order to obtain review by the Court of Appeals for Veterans Claims of a final decision of the Board of Veterans’ Appeals, a person adversely affected by such decision shall file a notice of appeal with the Court within 120 days after the date on which notice of the decision is mailed pursuant to section 7104(e) of this title.
38 U.S.C. § 7266(a).
At the same time, looking beyond the language of the statute, we cannot glean clear intent on the part of Congress to override the presumed jurisdictional treatment of time of review provisions. See Bread Political Action Comm. v. Fed. Election Comm’n, 455 U.S. 577, 585, 102 S.Ct. 1235, 71 L.Ed.2d 432 (1982) (noting appellants’ burden to show “ ‘clear expression’ or ‘clear evidence’ of congressional intent” to go beyond a statutory provision and make additional procedures available to plaintiffs). We begin with the legislative history of the Veterans Judicial Review Act, Pub.L. No. 100-687, 102 Stat. 4105 (1988), the statute that created the Veterans Court. In the Senate version of the bill, the regional circuits directly reviewed decisions of the Board, and the *1215time of review provision was jurisdictional. Bailey, 160 F.3d at 1372 (citing S. 11, 100th Cong., 2d Sess. § 4025(g)(1) and S.Rep. No. 100-418 (1988), and noting that “[t]he bill provided that ‘[n]o action for judicial review may be brought’ unless the request for review was filed within 180 days of the [Board] decision”). In the House version of the bill, the Board was replaced by “a 65-judge court responsible for reviewing decisions of the Department’s regional offices.” 160 F.3d at 1372 (citing H.R. 5288, 100th Cong., 2d Sess. § 4015(d)(1)). In the House bill, appeals had to be filed with the designated court within ninety days of the RO decision, but that period could be extended for good cause. 160 F.3d at 1373. Both the 180-day language in the Senate bill and the “good cause” provision in the House bill were omitted from the compromise bill that resulted in the final legislation. The Bailey dissent noted that, had the good cause provision remained in the final legislation, the timing statute would “have been properly construed as non-jurisdictional in nature.” Id. Because the final bill did not retain the good-cause exception, the dissent stated that the compromise bill suggested § 7266(a) was jurisdictional in nature. Id. We agree.
Congress amended § 7266 in 1994. See Veterans’ Benefits Improvements Act of 1994, Pub.L. No., 103-446, § 511(a), 108 Stat. 4645, 4670 (1994). The amendment did not affect the jurisdictional nature of the timing requirement, however. Bailey, 160 F.3d at 1373. The 1994 amendment simply altered the requirement of actual delivery of a notice of appeal to the Veterans Court within 120 days, by providing that notices of appeal would be deemed timely if they were mailed within the 120-day appeal period. See id.-, 38 U.S.C. § 7266(b), (c). The Bailey dissent determined that “[t]he 1994 amendment thus made the timely filing requirement more lenient by establishing a ‘postmark rule,’ but it did not alter the jurisdictional nature of that requirement.” 160 F.3d at 1373. Again, we agree.
As noted above, Mr. Henderson has observed that eleven years have passed since Bailey, and he argues that Congress has thus acquiesced in our reading of § 7266(a) in Bailey. “Congress is presumed to be aware of an administrative or judicial interpretation of a statute and to adopt that interpretation when it reenacts a statute without change.” Lorillard v. Pons, 434 U.S. 575, 580, 98 S.Ct. 866, 55 L.Ed.2d 40 (1978). It is true that in the period since 1998, Congress has not amended § 7266(a) in a way that would disturb Bailey. See supra note 10. We are not prepared to conclude, however, that this congressional inactivity represents clear intent to rebut the jurisdictional treatment of § 7266(a), as urged by Mr. Henderson. The “re-enactment rule” delineated in Lorillard does not establish congressional acquiescence in all situations. See, e.g., Coke v. Long Island Care At Home, Ltd., 376 F.3d 118, 130 n. 5 (2d Cir.2004) (discussing the limitations on the congressional acquiescence argument, “affectionately known as the ‘dog didn’t bark canon’ ”), vacated and remanded on other grounds, 546 U.S. 1147, 126 S.Ct. 1189, 163 L.Ed.2d 1125 (2006). Here, it would be inappropriate to rely on congressional “silence” to find approval of Mr. Henderson’s position, i.e., that Congress has acquiesced in the interpretation we gave the statute in Bailey, when the Supreme Court itself has characterized its precedent as having “long and repeatedly held that the time limits for filing a notice of appeal are jurisdictional in nature.” Bowles, 551 U.S. at 206, 127 S.Ct. 2360 (emphasis added). We agree with the government that, in this instance, it is more appropriate to presume that Congress intended application of *1216“long and repeated[]” and “consistente ]” Supreme Court precedent rather than to presume that Congress sub silentio intended the statutory appeal period at issue to be nonjurisdictional. We hold that because § 7266(a) is a time of review provision in a civil case and because Congress has not so provided, it is not subject to equitable tolling. It is thus mandatory and jurisdictional.
Though recognizing § 7266(a) as a time of review provision, the Bailey court held that it was subject to equitable tolling. It reached this conclusion because it determined that Irwin was controlling. As seen, this holding was based upon two determinations. First, the court concluded that Irwin “d[id] not distinguish among the various kinds of limitations that may act as conditions to the waivers of sovereign immunity required to permit a cause of action to be pitched against the United States.” Id. at 1364. Second, and most importantly, the court rejected the proposition that Irwin had been limited by Stone. Examining Stone, the court concluded that its language that statutory time of review provisions are “mandatory and jurisdictional” meant only that such provisions “are not subject to equitable tolling after Irwin if Congress has so expressed its intent.” Id. at 1366. The Bailey court concluded by stating that it was “not comfortable” drawing “a bright line which would place statutes of limitation on one side of the Irwin presumption [in favor of equitable tolling] and statutes of timing of review on the other.” Id. at 1367.
Bailey’s holding that § 7266(a) is subject to equitable tolling has been undermined by Bowles, however. As seen, in Bowles, the Supreme Court stated: “Today we make clear that the timely filing of a notice of appeal in a civil case is a jurisdictional requirement.” Bowles, 551 U.S. at 214, 127 S.Ct. 2360. And of particular significance for this case, the Court further stated that because Bowles’s error in filing his appeal late was “one of jurisdictional magnitude, he [could] not rely on forfeiture or waiver to excuse his lack of compliance with the statute’s time limitations.” Id. at 213, 127 S.Ct. 2360. The Court added that it had no authority to create equitable exceptions to jurisdictional requirements. Id. at 214, 127 S.Ct. 2360. The critical point is that, whereas in Bailey we relied on Irwin to conclude that time of review provisions are subject to equitable tolling unless Congress has expressed a contrary intent, see 160 F.3d at 1365-66, in Bowles the Court reached the conclusion that because time of review provisions are mandatory and jurisdictional, they are not subject to equitable tolling unless Congress so provides, see 551 U.S. at 212-13, 127 S.Ct. 2360. Thus, in light of Bowles, we are compelled to draw the bright line between statutes of limitations and time of review provisions that the Bailey court declined to draw. Because Congress has not expressed the requisite assent, we hold that the time of review period in § 7266(a) is not subject to equitable tolling.
C.
Faced with Bowles, Mr. Henderson contends that the reach of the Court’s decision is limited. First, he argues that, in John R. Sand &amp; Gravel Co. v. United States, 552 U.S. 130, 128 S.Ct. 750, 169 L.Ed.2d 591 (2008), the Supreme Court had the opportunity to expand its holding in Bowles, but chose not to do so. Appellant’s Br. 15. He states that one issue in John R. Sand &amp; Gravel was whether 28 U.S.C. § 2501, the six-year statute of limitations applicable to Tucker Act suits in the United States Court of Federal Claims, is subject to equitable tolling. Ac*1217cording to Mr. Henderson, the Court held that § 2501 is “jurisdictional,” citing Bowles to support its definition of a “jurisdictional” statute. “But,” Mr. Henderson continues, “the Supreme Court did not expand Bowles by holding that because the statute is jurisdictional, it is not subject to equitable tolling.” Id. The government rejoins that John R. Sand &amp; Gravel does not help Mr. Henderson.
We are not persuaded by Mr. Henderson’s argument that John R. Sand &amp; Gravel suggests that Bowles is limited. The issue in John R. Sand &amp; Gravel was narrow. The Supreme Court stated: “The question presented is whether a court must raise on its own the timeliness of a lawsuit filed in the Court of Federal Claims, despite the Government’s waiver of the issue.” 552 U.S. at 132, 128 S.Ct. 750. The Court held that 28 U.S.C. § 2501, which it characterized as “the special statute of limitations governing the Court of Federal Claims,” required “that sua sponte consideration.” Id. The Court affirmed the decision of this court to consider the timeliness of John R. Sand &amp; Gravel’s suit in the Court of Federal Claims even though the government had waived the issue. Id. at 139, 128 S.Ct. 750; see John R. Sand &amp; Gravel Co. v. United States, 457 F.3d 1345 (Fed.Cir.2006).
It is true that, in deciding John R. Sand &amp; Gravel, the Court mentioned Bowles in passing in referring to “jurisdictional” statutes. See John R. Sand &amp; Gravel, 552 U.S. at 134, 128 S.Ct. 750 (“As convenient shorthand, the Court has sometimes referred to the time limits in [statutes of limitations] as ‘jurisdictional.’ See, e.g., Bowles, supra, at 2364.”) However, contrary to Mr. Henderson’s argument, because John R. Sand &amp; Gravel involved the issue of waiver and a statute of limitations provision, rather than the issue of equitable tolling and a time of review provision, which was at issue in Boiules, there was no need for the John R. Sand &amp; Gravel Court to discuss Bowles further one way or the other. Thus, not surprisingly, the Court focused its attention on Irwin, which, as a statute of limitations case, was pertinent to the issue before it. In short, we do not see John R. Sand &amp; Gravel as being helpful to Mr. Henderson.
Mr. Henderson makes a second argument to limit Bowles. He contends that the Court’s decision in Bowles, which did not discuss § 7266(a) or the doctrine of equitable tolling, Appellant’s Br. 13-14, “relies on separation of powers principles that apply to Article III courts.” Id. at 22. Mr. Henderson states that Bowles “is consistent with the fundamental principle that Article III courts cannot ‘extend by rule the judicial power of the United States described in Article III of the Constitution.’ ” Id. at 23 (quoting Willy v. Coastal Corp., 503 U.S. 131, 135, 112 S.Ct. 1076, 117 L.Ed.2d 280 (1992)). Mr. Henderson urges that this principle does not apply to Article I tribunals such as the Veterans Court: “The Supreme Court in Bowles was not faced with, and did not reach, the question of whether statutory time limits applicable to Article I courts may be extended on equitable grounds,” he states. Id.
The government urges that the Article I nature of the Veterans Court should not change our analysis. The government notes that the Supreme Court and circuit courts of appeals have held that time limits on appeals from agency orders and adjudications can be jurisdictional. See Stone, 514 U.S. at 406, 115 S.Ct. 1537; Ruiz-Martinez v. Mukasey, 516 F.3d 102, 118 (2d Cir.2008) (applying Bowles); Cellular Telecomm’s. &amp; Internet Ass’n v. FCC, 330 F.3d 502, 508 (D.C.Cir.2003); Florilli Corp. v. Pena, 118 F.3d 1212, 1214 (8th Cir.1997); AFL-CIO v. OSHA, 905 F.2d *12181568, 1570 (D.C.Cir.1990); Shendock v. Dir. Office Workers’ Comp. Programs, 893 F.2d 1458, 1462-66 (3d Cir.1990). According to the government, here, as in Griggs v. Provident Consumer Discount Co., the notice of appeal divests jurisdiction from one body and vests jurisdiction in another.11 The government argues that this jurisdictional transfer occurs regardless of whether the bodies involved were created under Article I or Article III.
The Supreme Court has recently said: “[I]t is for Congress to determine the subject-matter jurisdiction of federal courts. This rule applies with added force to Article I tribunals, ... which owe their existence to Congress’ authority to enact legislation pursuant to Art. 1, § 8 of the Constitution.” United States v. Denedo, - U.S. -, 129 S.Ct. 2213, 2221, 173 L.Ed.2d 1235 (2009) (citing Bowles) (internal citations and quotation marks omitted) (emphasis added). Additionally, as stated in Bowles, “the. notion of subject-matter jurisdiction obviously extends to classes of cases ... falling within a court’s adjudicatory authority, but it is no less jurisdictional when Congress forbids federal courts from adjudicating an otherwise legitimate class of cases after a certain period has elapsed from final judgment.” 551 U.S. at 213, 127 S.Ct. 2360 (internal citations and quotation marks omitted) (omission in original). As a result, “when an appeal has not been prosecuted in the manner directed, within the time limited by the acts of Congress, it must be dismissed for want of jurisdiction.” Id. (internal quotation marks omitted). Because the Supreme Court has stated that the jurisdictional rationale applies with even “added ” force to Article I courts, we cannot agree with Mr. Henderson that the Article I nature of the Veterans Court changes the analysis under Bowles.
D.
For their part, the amici contend that while 28 U.S.C. § 2107(c), which was at issue in Bowles, is written in language limiting the Article III jurisdiction of the federal appellate courts, § 7266(a) is written as a “claim processing” rule, and therefore should be treated as non-jurisdictional. The amici note that subsection (c) of § 2107 provides that the “district court” can “extend the time for appeal” in certain instances. See, e.g., Halseth Br. 22; NOVA Br. 8. They argue that this language defines the limits of what the district court can and cannot do, and therefore must be jurisdictional. By contrast, amici urge, § 7266(a) defines what the veteran must do, and the statute is therefore a claim processing rule, and not jurisdictional. Specifically, as seen, § 7266(a) provides that “a person adversely affected” by a decision of the Board “shall file a notice of appeal with the [Veterans Court] within 120 days after the date on which notice of the decision is mailed.” Because the statute does not facially indicate which cases the Veterans Court can and cannot take, amici argue that § 7266(a) does not contain any jurisdictional limitations. See, e.g., Halseth Br. 13, 23; DAM Br. 6-7; PV/JWV Br. 4.
We reject the argument that § 7266(a) is subject to equitable tolling because it is a claim processing rule. As *1219stated by the Supreme Court in Bowles, claim-processing rules “adopted by [a c]ourt for the orderly transaction of its business” are not jurisdictional (and indeed, cannot be, as only Congress can dictate the jurisdiction of the lower Article III courts). 551 U.S. at 211, 127 S.Ct. 2360. At the same time, the Court has stressed “the jurisdictional significance of the fact that a time limitation is set forth in a statute,” as opposed to in a court-promulgated rule. Id. at 210, 127 S.Ct. 2360. As an initial matter, it is clear that § 7266(a) is not a “court-promulgated rule[],” but is a time limit enacted by Congress. It thus could properly be deemed “jurisdictional” under Bowles.
We recognize that while 28 U.S.C. § 2107, the statute at issue in Bowles, is phrased in terms of what the district court can and may do, § 7266(a) is phrased in terms of the actions a veteran must take to preserve his or her right to appeal. We conclude, however, that this distinction does not convert § 7266(a) into a claim-processing rule. The time limit is set out statutorily, a crucial point for the Supreme Court in determining which of such limits are jurisdictional and which are not. See Bowles, 551 U.S. at 211, 127 S.Ct. 2360 (noting that § 2107 contains “the type of statutory time constraints that would limit a court’s jurisdiction.”) Moreover, although the statute at issue here is drafted in terms of the veteran’s obligations, it states that the notice of appeal “shall ” be filed with the Veterans Court within 120 days of the mailing of the Board’s final decision. 38 U.S.C. § 7266(a) (emphasis added). Furthermore, as we stated in Bailey, we must read the jurisdictional waiver of sovereign immunity for the Veterans Court, set forth in 38 U.S.C. § 7252, in light of the qualifications in § 7266, “because we must construe jurisdictional statutes narrowly and ‘with precision and with fidelity to the terms by which Congress has expressed its wishes.’ ” Bailey, 160 F.3d at 1363. Section 7266(a) is the only provision that specifies the timing for filing a notice of appeal in the Veterans Court. The textual focus on the veteran does not transform the statute into a claim-processing rule.
V.
The final argument Mr. Henderson and the various amici make is that because the veterans system is uniquely non-adversarial and pro-claimant, we should not import jurisdictional rules into the system. The amici note that the Veterans Court was created to be an extra safeguard for those who served in the military, and that Congress strove to ensure, at the court’s inception, that it was “[accurate, informal, efficient, and fair.” H.R.Rep. No. 100-963 (1988), reprinted in 1988 U.S.C.C.A.N. 5782, 5808. The amici urge that only a flexible system, which allows for equitable tolling, can meet these four goals. See, e.g., United Spinal Br. 4.
The government responds that we have stated that proceedings before the Veterans Court are not non-adversarial, and that there are certain legal requirements veterans must meet. See Forshey v. Principi, 284 F.3d 1335, 1355 (Fed.Cir.2002), superseded by statute on other grounds (“The veterans’ benefits system remains a non-adversarial system when cases are pending before the Veterans’ Administration. However, the [Veterans Court’s] proceedings are not non-adversarial.”); Bailey, 160 F.3d at 1365 (“[V]eterans like Bailey must satisfy formal legal requirements, often without the benefit of legal counsel, before they are entitled to administrative and judicial review.”). Although recognizing that special protections are afforded the veteran, the government argues that the meaning of § 7266(a) is clear, and *1220we may not ignore the fact that the statute is a time of review provision.
As far as the uniquely pro-claimant, non-adversarial nature of the veterans system is concerned, we acknowledge that the government has special duties to assist a veteran with his or her claim. However, we have recently been reminded by the Supreme Court that, although “Congress has expressed special solicitude for the veterans’ cause,” we do not have free rein to establish special procedural schemes governing the veterans’ system alone. Shinseki v. Sanders, 129 S.Ct. at 1707. In Sanders, the Supreme Court struck down our unique harmless error rubric, concluding that it was “too complex and rigid,” and “impose[d] unreasonable evidentiary burdens upon the VA.” Id. at 1700. In reaching this conclusion, the Court traced the parallel language of the Administrative Procedure Act and the Veterans Court’s harmless error statutes. The Supreme Court found “no indication of any relevant distinction between the manner in which reviewing courts treat civil and administrative” cases, and concluded that we must apply the harmless error framework set forth for “ordinary civil cases.” Id. at 1704.
We complete our analysis with Sanders in mind. While it is clear the veterans’ system is unique, we must be wary of hinging different procedural frameworks solely on the special nature of that system. Jurisdiction is in the province of Congress, and without any clear intent by Congress to provide for equitable relief from the Notice of Appeal filing deadline in 38 U.S.C. § 7266(a), we cannot read in such relief based on the nature of the veterans system.
CONCLUSION
We hold that 38 U.S.C. § 7266(a) is a time of review provision in a civil case and that, because Congress has not so provided, it is not subject to equitable tolling. The statute is thus mandatory and jurisdictional. We therefore overrule our decisions in Bailey and Jaquay, where we held that § 7266(a) is subject to equitable tolling. We overrule Bailey and Jaquay not because we have concluded in retrospect that they were incorrectly decided in light of then-current Supreme Court authority. Rather, we do so because we have concluded that they have been overtaken by subsequent authority, specifically, Bowles, where the Supreme Court unequivocally stated that “the timely filing of a notice of appeal in a civil case is a jurisdictional requirement” and that it had “no authority to create equitable exceptions to jurisdictional requirements.” 551 U.S. at 214, 127 S.Ct. 2360. If Congress determines that the 120-day period for appealing to the Veterans Court from a decision of the Board should be subject to equitable tolling, it may amend § 7266(a) to compel a result different from the one we reach today. We, however, are not empowered to make that change. See id. at 215, 127 S.Ct. 2360. For the foregoing reasons, the Veterans Court correctly held that it lacked jurisdiction to consider Mr. Henderson’s appeal. Its decision dismissing his appeal is therefore affirmed.12

AFFIRMED

COSTS
No costs.

. In pertinent part, § 7104(e) of Title 38 provides:
(e)(1) After reaching a decision on a case, the Board shall promptly mail a copy of its written decision to the claimant at the last known address of the claimant.


. In 1991, this time period was extended to ninety days. See Pub.L. No. 102-166, § 114(1), 105 Stat. 1071, 1079 (Nov. 21, 1991).


. The Court, however, found equitable tolling *1206was inappropriate in Irwin’s case.


. The text of 8 U.S.C. § 1105a(a)(1) (1994), the statute at issue in Stone, provided that "a petition for review [of a final deportation order] may be filed not later than 90 days after the date of the issuance of the final deportation order.” The statute was repealed, effective April 1, 1997, by Pub. Law No. 104-208, Div. C, Title III, § 306(b), 110 Stat. 3009-612 (Sept. 30, 1996).


. Section 2101(c) of Title 28 provides:
Any other appeal or any writ of certiorari intended to bring any judgment or decree in a civil action, suit or proceeding before the Supreme Court for review shall be taken or applied for within ninety days after the entry of such judgment or decree. A justice of the Supreme Court, for good cause shown, may extend the time for applying for a writ of certiorari for a period not exceeding sixty days.


. Section 6511 of Title 26 deals with the procedures for filing tax-refund claims.


. Section 2409a of Title 28 addresses procedures for bringing actions for quiet title where the United States is a party.


. Section 2107(c) of Title 28 provides:
(c) The district court may, upon motion filed not later than 30 days after the expiration of the time otherwise set for bringing appeal, extend the time for appeal upon a showing of excusable neglect or good cause. In addition, if the district court finds—
(1) that a party entitled to notice of the entry of a judgment or order did not receive such notice from the clerk or any party within 21 days of its entry, and
(2) that no party would be prejudiced, the district court may, upon motion filed within 180 days after entry of the judgment or order or within 7 days after receipt of such notice, whichever is earlier, reopen the time for appeal for a period of 14 days from the date of entry of the order reopening the time for appeal.
Rule 4(a)(6) similarly provides:
(6) Reopening the Time to File an Appeal. The district court may reopen the time to file an appeal for a period of 14 days after the date when its order to reopen is entered, but only if all the following conditions are satisfied:
(A) the court finds that the moving party did not receive notice under Federal Rule of Civil Procedure 77(d) of the entry of the judgment or order sought to be appealed within 21 days after entry;
(B) the motion is filed within 180 days after the judgment or order is entered or within 7 days after the moving party receives notice under Federal Rule of Civil Procedure 77(d) of the entry, whichever is earlier; and
(C) the court finds that no party would be prejudiced.


. We received amicus curiae briefs from veteran Allan G. Halseth; Disabled American Veterans ("DAM”); National Organization of Veterans’ Advocates, Inc. ("NOVA”); Paralyzed Veterans of America and the Jewish War Veterans of the United States of America ("PV/JWV”); and United Spinal Association *1211("United Spinal”), all urging reversal of the decision of the Veterans Court.


. In 2001, Congress amended § 7266 as part of a broad package modifying the veterans’ benefits system. See Veterans Education and Benefits Expansion Act of 2001, Pub.L. No. 107-103, § 507, 115 Stat. 976, 997.


. In Griggs, the Supreme Court reversed the Third Circuit's acceptance of jurisdiction pursuant to a premature filing of a notice of appeal. 459 U.S. at 58, 103 S.Ct. 400. In so doing, the Court stated: "The filing of a notice of appeal is an event of jurisdictional significance — it confers jurisdiction on the court of appeals and divests the district court of its control over those aspects of the case involved in the appeal." Id. (emphasis added).


. The court is grateful to Thomas W. Stoe-ver, Jr. and Jacek A. Wypych of Arnold &amp; Porter LLP for their excellent pro bono representation of Mr. Henderson.

